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Attorneys for Plaintiffs and the Putative Class

FILED

TRICT COURT
UNITED SIVER. COLORADO
JAN 05 2018
SFREY P. COLWELL
JEFFREY P. COLWELL

ee

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

BETHANY LANGE, JENNIFER OH, BROOKE ) Case: 1:17-cv-02286-RBJ
HOFFMAN, MICAH BAILEY, LINDA SOLTIS, )
DERRICK SMITH, SHILOH IRVIN, MATTHEW)

BRUDNICKI, JAMES ROCHE, JENNIFER

JOHNSTON, MICHAEL SPANO, TORIANNA
BONDS, DAKOTA JONES, DUSTY DERIGO,
DAN MCCULLOUGH, ANGEL GONZALES,

CHRISTINA BOHNSTEDT, on behalf of
themselves and all others similarly situated;

Plaintiffs,
VS.

ALCOHOL MONITORING SYSTEMS, INC., a

Delaware Corporation; et al.,

Defendants.

)

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DECLARATION OF
JENNIFER OH

Hon. R. Brooke Jackson

DECLARATION OF JENNIFER OH

 
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DECLARATION OF JENNIFER OH

1. Jama Plaintiff in this case, and have been so from the very beginning
when this case was filed. I am completely familiar with all the motions, files, facts
and pleadings in this case, and, if called upon as a witness, I could and would
competently testify to the following facts based upon my own personal knowledge
or based upon information and belief.

2. I amcurrently represented by two law firms. The Orr Law firm
located in Colorado, and the Law Offices of William LeFaiver. The lead attorneys
in this case are Rhidian Orr, and William LeFaiver esquire.

3. On Friday September 30, 2017, I received a telephone call on my cell
phone from the phone number (213) 236-0600. I answered the telephone and a
woman ask if I was Jennifer Oh, and I said yes. The phone call was at 1:37 p.m.,
and during the call, I lost the signal. Once in a better area, I called this number
back due to the facts that I have been getting a lot of phone calls from this number.
The secretary answered, and it was the law firm of Burke, Williams, & Sorenson
located in Los Angeles.

4. The woman on the telephone informed me that this was a law firm.
And I mistakenly thought this was a law firm calling me due to me being a listed
Plaintiff in this. I proceed to tell the woman that this was related to a civil matter
against Scram. The woman began asking questions about this case. I asked the
women for her name, and she would not give it to me. But instead, stated that I
needed to speak to Susan Coleman. At the time, I was busy working and had to cut
the call short.

5. I later discovered that this law firm is in fact representing Alcohol
Monitoring Systems, Inc. I then informed the two aforementioned attorneys. At no
time did I ever give permission to this attorney Susan Coleman to contact me. I am
clearly represented by counsel. I then took a screen shot of the call log, and

forwarded it to my attorneys Rhidian Orr, and William LeFaiver. See Exhibit A.

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DECLARATION OF JENNIFER OH

 
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6. After conducting internet research, I have discovered that there is a
State bar rule, Rule 2-100, which forbids attorneys like Susan Coleman from
contacting a client of another attorney.

7. I certify under the penalty of perjury that this foregoing is true and
correct dated this 29th day of December, 2018 in the City of Torrance, the State of

California.

Respectfully submitted,

)

Jennifer Oh, Plaintiff

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DECLARATION OF JENNIFER OH

 
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Favorites Recents Contacts Keypaci Voicemail

EXHIBIT “A”

(Incoming Call from Burke, Williams, & Sorenson
to Jennifer Oh Cell Phone)
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4 The State Bar of California
Susan Eileen Coleman - #171832

Current Status: Active
This attorney is active and may practice law in California.

See below for more details.

Profile Information
The following information is from the official records of The State Bar of California.

 

Bar Number: 171832
Burke Williams & Sorensen LLP

   
 

Phone Number: (213) 236-0600 \

 

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District: District 2
Litigation Santa Clara Univ SOL; Santa
ions: L t:
Sections Public Law aw Schoo Clara CA
Status History
Effective Date Status Change
Present Active
11/22/1994 Admitted to The State Bar of California

Actions Affecting Eligibility to Practice Law in California
Disciplinary and Related Actions

This member has no public record of discipline.
Administrative Actions

This member has no public record of administrative actions.

Attomey Provided Information
The information in this box was provided by the attorney and has not been verified or monitored. The State Bar
does not recommend or endorse any attorney.

Practice Area(s):
Civil Rights

Other Language(s) Spoken by this Attorney:
Spanish
